          Case 1:02-cv-06385-AWI-GSA Document 195 Filed 09/22/08 Page 1 of 4


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 6
                        UNITED STATES DISTRICT COURT
 7                             EASTERN DISTRICT OF CALIFORNIA
 8
     MARIA TORRES, et al.,                  )        1:02-cv-06385 AWI GSA
 9                                          )
                                            )        SCHEDULING ORDER (Fed. R. Civ. P. 16)
10                                          )
                 Plaintiffs,                )        Summary Judgment Motion Filing Deadline:
11                                          )        January 23, 2009
                                            )
12                                          )        Opposition to Summary Judgment Motion
                                            )        Deadline:
13                                          )        February 20, 2009
           v.                               )
14                                          )        Reply Deadline:
                                            )        March 13, 2009
15                                          )
                                            )        Hearing on Motion for Summary Judgment:
16                                          )        April 13, 2009 at 1:30 p.m. in Courtroom 2
     CITY OF MADERA,                        )        before the Honorable Anthony W. Ishii
17                                          )
                                            )        Pretrial Conference:
18               Defendant.                 )        June 11, 2009 at 8:30 a.m. in Courtroom 2
                                            )        (AWI)
19                                          )
                                            )        Trial: August 18, 2009 at 8:30 a.m. in
20                                          )               Courtroom 2 (AWI)
                                            )               Jury Trial: 8-10 days
21                                          )
                                            )
22   ___________________________________    )
23
24         I.    Date of Scheduling Conference
25               September 22, 2008.
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           Case 1:02-cv-06385-AWI-GSA Document 195 Filed 09/22/08 Page 2 of 4


 1           II.    Appearances of Counsel
 2                   Cameron Stewart appeared telephonically on behalf of Plaintiffs. Defendants
 3   City of Madera and Marcy Noreiga appeared telephonically by counsel Bruce Praet.
 4           III.   Background
 5           On April 8, 2005, the Court granted Defendants’ partial summary judgment dismissing all
 6   federal causes of action, leaving state claims intact. Plaintiffs appealed. On May 5, 2008, the
 7   Ninth Circuit reversed the grant of summary judgment and remanded to the matter for further
 8   proceedings and analysis.
 9           Discovery in this matter is complete. The parties requested a scheduling conference to
10   establish a motion cut-off date and briefing schedule, a pretrial conference date and a trial date in
11   this matter.
12           IV.    Pre-Trial Motion Schedule
13           Any motion for summary judgment shall be filed no later than January 23, 2009.
14   Response to such motion(s) shall be filed no later than February 20, 2009. Reply(ies) shall be
15   filed no later than March 13, 2009. A hearing on the motion(s) for summary judgment shall be
16   held on April 13, 2009 at 1:30 p.m. in Courtroom 2 before the Honorable Anthony W. Ishii,
17   United States District Court Judge.
18           V.     Pre-Trial Conference Date
19           June 11, 2009, at 8:30 a.m. in Courtroom 2 before the Honorable Anthony W. Ishii.
20           The parties are ordered to file a Joint Pretrial Statement pursuant to Local Rule 16-
21   281(a)(2). The parties are further directed to submit a digital copy of their pretrial statement in
22   Word Perfect X31 format, directly to Judge Ishii’s chambers by emailing it to
23   awiorders@caed.uscourts.gov.
24           The parties' attention is directed to Rules 16-281 and 16-282 of the Local Rules of
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              If WordPerfect X3 is not available to the parties then the latest version of WordPerfect
26
     or any other word processing program in general use for IBM compatible personal computers is
27   acceptable.

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           Case 1:02-cv-06385-AWI-GSA Document 195 Filed 09/22/08 Page 3 of 4


 1   Practice for the Eastern District of California, as to the obligations of counsel in preparing for the
 2   pre-trial conference. The Court will insist upon strict compliance with those rules.
 3          VI.     Trial Date
 4          The trial will be held on August 18, 2009, at 8:30 a.m. in Courtroom 2 before the
 5   Honorable Anthony W. Ishii, United States District Judge.
 6                  A.      This is a jury trial.
 7                  B.      Parties’ Estimate of Trial Time: 8-10 days.
 8          Parties’ attention is directed to Local Rules of Practice for the Eastern District of
 9   California, Rule 16-285, for preparation of trial briefs.
10          VII.    Settlement Conference
11          Should the parties desire an additional settlement conference in this matter, they will
12   jointly request one of the court, and one will be arranged. In making such request, the parties are
13   directed to notify the court as to whether or not they desire the undersigned to conduct the
14   settlement conference or to arrange for one before another judicial officer.
15          VIII. Request for Bifurcation, Appointment of Special Master, or other
16                  Techniques to Shorten Trial
17          Defendants would request bifurcation of individual liability from entity (Monell) liability
18   and bifurcation of liability from damages if, after summary judgment, Plaintiffs’ civil rights
19   theories of liability remain. Plaintiffs would object to and oppose bifurcation.
20          IX.     Related Matters Pending
21          The parties have not identified any related matters.
22          X.      Compliance with Federal Procedure
23          The parties are expected to familiarize themselves with the Federal Rules of Civil
24   Procedure and the Local Rules of Practice of the Eastern District of California, and to keep
25   abreast of any amendments thereto. The Court must insist upon compliance with these Rules if it
26   is to efficiently handle its increasing case load and sanctions will be imposed for failure to follow
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           Case 1:02-cv-06385-AWI-GSA Document 195 Filed 09/22/08 Page 4 of 4


 1   the Rules as provided in both the Federal Rules of Civil Procedure and the Local Rules of
 2   Practice for the Eastern District of California.
 3          XI.     Effect of this Order
 4          The foregoing order represents the best estimate of the Court and the parties as to the
 5   agenda most suitable to dispose of this case. The trial date reserved is specifically reserved for
 6   this case. If the parties determine at any time that the schedule outlined in this order cannot be
 7   met, counsel are ordered to notify the Court immediately of that fact so that adjustments may be
 8   made, either by stipulation or by subsequent status conference.
 9          Stipulations extending the deadlines contained herein will not be considered unless they
10   are accompanied by affidavits or declarations, and where appropriate attached exhibits, which
11   establish good cause for granting the relief requested.
12          Failure to comply with this order may result in the imposition of sanctions.
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16         IT IS SO ORDERED.
17      Dated:     September 22, 2008                           /s/ Gary S. Austin
     6i0kij                                             UNITED STATES MAGISTRATE JUDGE
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